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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No, 9:12-CV-80064-KLR

SHELLEY PENNEY, GLADYS MURPHY,
ADRIANAH SEELY, STEVEN MARKS,
individually and on behalf of all other
similarly situated,

Plaintiffs,
VS.

WAIORA, LLC., WAIORA USA, INC., WAIORA
INTERNATIONAL, INC., WAIORA HOLDINGS,
LLC., WAIORA AUSTRALIA, LLC., WAIORA
HONG KONG, LLC., WAIORA SINGAPORE, LLC.,
ENO RESEARCH AND CONSULTING SERVICES,
LLC., NDA CONSULTING, INC., STANLEY J.
CHERELSTEIN, ERIK J. DIETSCH a/k/a RUS
DIETSCH, NORWOOD STONE, JAMES FLOWERS,
JOHN DOE MANUFACTURER and WAJORA
INTERNATIONAL, LTD.

Defendants.
/

JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
AS TO DEFENDANTS ERIK DEITSCH AND NDA CONSULTING

Plaintiff's, SHELLY PENNY, GLADYS MURPHY, ADRIANAH SEELY, AND
STEVEN MARKS, and Defendants, ERIK DEITSCH and NDA CONSULTING, pursuant
to the Federal Rules of Civil Procedure, hereby jointly file this Stipulation of Dismissal with
Prejudice and state:

1. Plaintiffs and Defendants, Erik Deitsch and NDA Consulting, Inc. had
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previously filed a stipulated Joint Motion for Dismissal With Out Prejudice on March 5,
2013. (Doc. #134).

2. The Court entered its Order Dismissing Defendants, Erik Deitsch and NDA
Consulting, Inc. without prejudice on March 8, 2013. (Doc. #139).

3, The intent of the parties was to dismiss these Defendants without prejudice
pending the Court’s approval of the class action settlement.

4. By agreeing to dismiss Defendants, Erik Deitsch and NDA Consulting, Inc.
without prejudice, the Plaintiffs were reserving their right to re-file their case against these
Defendants in the event that the Court did not approve the class action settlement.

5. The Court entered its Order approving the class action settlement on September
12, 2013. (Doc. #157).

6. The Plaintiffs and Defendants, Erik Deitsch and NDA Consulting, Inc. now
agree and stipulate that these Defendants Erik Deitsch and NDA Consulting should now be
dismissed with prejudice.

7, The Plaintiffs and Defendants Erik Deitsch and NDA Consulting, therefore
request that the Court modify its previously entered Order (Doc. #139) to reflect that Erik

Deitsch and NDA Consulting are dismissed with prejudice.
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I HEREBY CERTIFY that on this 4" day of November, 2013 I electronically filed
the foregoing with the Clerk of the Southern District Court by using the CM/ECF system,
I also certify that the foregoing document is being served this day on all counsel of record
identified on the attached Service List in the manner specified, either via transmission of
Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for
those counsel or parties who are not authorized to receive electronic Notices of Electronic
filings. .

By____s/Robert D. Moses
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